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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02996

  JACK MILLER

                         Plaintiff,

  v.

  MEDICREDIT, INC.

                         Defendant.


  Arapahoe County Court Case No. 14C48496


                                      NOTICE OF REMOVAL


         Defendant Medicredit, Inc. (“Medicredit”) timely files this Notice of Removal pursuant to

  28 U.S.C. §§ 1331, 1441, and 1446, removing this action from County Court for the County of

  Denver, State of Colorado, to the United States District Court for the District of Colorado, and in

  support of this Notice, states as follows:

         1.      On October 17, 2014, Plaintiff Jack Miller filed a Complaint Under Simplified

  Civil Procedure (hereinafter “Complaint”) against Defendant Medicredit in County Court for the

  County of Arapahoe, State of Colorado (the “State Court”). The Complaint contains a claim

  alleging a violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692. Pursuant to 28

  U.S.C. § 1446(a), a copy of the Complaint is attached as Exhibit A; a copy of the County Court

  Summons is attached as Exhibit B; and a copy of the Affidavit of Service on Medicredit, Inc. is

  attached as Exhibit C.
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         2.      Miller served Medicredit with the summons on October 17, 2014. Accordingly,

  Medicredit timely files this Notice within the 30-day limit established by § 1446(b)(1).

         3.      The United States District Court for the District of Colorado has original

  jurisdiction over this matter under 28 U.S.C. § 1331 because Millers’ well-plead Complaint

  implicates the Court’s federal question jurisdiction, specifically the Federal Fair Debt Collection

  Practices Act, 15 U.S.C. § 1692. (See Ex. A., Complt. at ¶¶ 2, 7, 8, 11, 17, 36, 41, 46, 56, 61,73,

  75, 92, 96, 98, 99.)

         4.      Removal to the United States District Court for the District of Colorado is proper

  under 28 U.S.C. § 1441(a), which provides that any civil action brought in a County and/or State

  Court where the District Courts of the United States have original jurisdiction is removable to the

  Division of the United States District Court embracing the place where such action is pending.

         5.      Accordingly, this Court has subject matter jurisdiction over this action, and this

  case is properly removed to this Court.

         6.      Medicredit has filed a Notice of Filing of the Notice of Removal with the County

  Court for the County of Arapahoe.

         WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is

  removed and transferred forthwith from the County Court for the County of Arapahoe, State of

  Colorado to the United States District for the District of Colorado.




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  Dated: November 4, 2014.
                                    LATHROP & GAGE LLP

                                    s/ Leah E. Capritta
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                                    Attorneys for Defendant Medicredit, Inc.




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 4, 2014, I electronically filed the foregoing NOTICE
  OF REMOVAL with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to the following:

         David M. Larson
         88 Inverness Circle East, Suite WE102
         Englewood, CO 80112
         Attorneys for Plaintiff

         Clerk of the Arapahoe County District Court
         1790 W. Littleton Blvd.
         Littleton, CO 80120

                                              s/ Mary McNichols
                                              Mary McNichols
                                              Legal Administrative Assistant




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